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IN 'l`I-IE UNI'I`E]) STAT]§`.S ])ISTRICT COURT
F()R THE EASTERN DISTRICT (]F PENNSYLVANIA

ST. LUKE`S HEALTH NE`TWORK, [NC. dib/a
ST. LUKE`S U'NIVERSITY HEALTI-I
NETWORK,

301 Ostrum Street, Bethlehem, PA 18015;

SA]NT LUKE`S HOSPITAL OF BE.TI-ILEHEM,
PENNSYLVANIA dfb/a ST. LUKE’S
UNIVERSITY I-IOSPITAL - BETI'ILEHEM
CAMPUS,

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) CDMPLAINT -- CLASS ACTION
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801 Ost;rum Strcct, Bcthlehc:m, PA 18015; §
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Civil Action No.:

ST. LLIKE’S QUAKER'[`OWN l-lOSPlTAL,

1021 Park Avenue, Quakertown, PA 18951;
.IURY TRIAL DEMANDF..D

CARBDN~SCHUYLKILL COMMUNITY
HOSPITAL d/b/a ST. LUKE’S MINE.RS
MEMORIAL HOSPITAL,

360 We:sl Ruddle Slreet, Coaldale, PA 13218;

BLUE MOU'NTAIN HOSPITAL dfb/a ST¢
LUKE’S HOSPITAL - PALMERTON CAMPUS,
135 Lafayette Avemle, Palmerton, PA, 13071;

Individually and on behalf of all others Similarly
situated,

Plc?in(i[f`§',
V.

LANCASTER GENERAL HOSPITAL,
555 North Duke Street, Lancaster, PA 17602;

I.,ANCASTER GENBRAL HEAI.¢TH,
555 North Duke Street, Lancaster, PA 17602_;

UNIVERSITY OF PENNSYLVANIA I'IEALTI~I
SYSTEM,
3451 Walnut Street, Phi1411;{111:11:)11i;_=1`1 PA 19104;

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(ccl,z)r:'m? c'omr'nued on nex! page)

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TRUSTEES OF THE UNIVERSITY OF
PENNSYLVANIA,
3451 Walnut Street, Philadelphia, PA 19104;

JOHN DOE l,
555 North Dul-ce Street, Lancaster__ PA 17602;

and JOHN DOE 2,
555 North Duke Street, Lanoastel', PA 17602.

Defendoms.

Plaintif`l"s ST. LUKE’S HEALTH NETWDR.K, INC+ dfb/a ST. LUKE’S UNIVERSITY
I*IEALTl-I NETWORK; SAINT LUKE’S I-IOSPITAL OF BETl-ILEHEM, PENNSYLVAN]A
d/b/a ST. I_,UKI`:`.’S UNIVERSI'I`Y I-IOSPITAL - BETI-II_.EHEM CAMFUS; ST. LUKE’S
QUAKERTOWN I-IOSFITAL; CARBON-SCHUYLKILL COMM`UNITY HOSPITAL cl/b/a ST.
LUKE’S l\/IINERS MEMORIAL I'IOSPITAL; and BLUE MOUNTAIN l`-IOSPITAL dfbfa ST.
LUKE`S I‘IOSPITAL - PALMERTON CAMPUS, individually and on behalf of all others
similarly situated, by and through their undersigned eounsel, Cooper &. Kirk, PLLC and Weblser
MeGi]l LLC, tile the within Class Aetion Complaint, and in support thereof, Plaintiffs aver as
follows:

NATURE OF THE ACTION

l. This ease is about a scheme to dupe Permsylvania officials into n‘lisdireoting,
millions o'l" dollars from a pot ol` money that is supposed to help hospitals across the
Conunonwealth cover the cost of charity medical care they provide to some of the

C-ornrnonwealth’s siokest uninsured oitizens.

 

2. Over the span of at least five fiscal years Fisoal Years 2003 through 2012_

Dofendants Lanoaster Goneral l-lospital_, Lanoastor General l-[ealth, the Uni\/ersity ol`Pennsyl\/ania

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1-1ealth System, and the r[`rustees of the University of Pennsylvania (collectiveiy, “l_.ancaster
General”), by and through their employees, John Doe l and John Doe 2, submitted hundreds of
inaccurate and overstated claims to the Pennsylvania government’s Extraordinary Expense
Program (“the EE Program”), a program that maintains funds to compensate hospitals for their
charity care.

3. The scale and scope of this scheme is astonishing The Pennsylvania Auditor
General has found that from Fiscal Years 2010 through 2012, about 75% of all claims that
Lancastcr Generai submitted to the EE Program Were invalid. By comparison, only about 10% of
the claims submitted by all other hospitals combined were invalid. Put differently, Lancaster
General submitted invalid claims at a rate 7.5 times higher than other hospitals

4. By submitting massive numbers of invalid and overstated claims on behalf of
Lancaster General, .Iohn Doe l and .lohn Doe 2 unlawfully diverted millions of dollars that should
have been paid to the Plaintit`l"s and the Plainti't`t` Class. Jolm Doe l and .lohn Doe 2 knew that
Lancaster General’s claims Were grossly inflated but nevertheless continued to submit them even
after being called out by the Auditor General. lior years, these fraudulent claims Were transmitted
to the Commonwcalth over the Intemel, and each transmission constituted an act o'l` wire l"raud
under 13 U.S.C. § 1343. 'l`ogether, these multiple acts of Wire fraud formed a ‘“pattern of
racketeering activity” under 18 U.S.C. § ]962(c).

5. The EE Program is not a bottomless pot of money. 111 fact,just t.he opposite is true.
There has typically not been enough money in the fund to pay for all the extraordinary expense
claims that hospitals submitted to the Commonwealth. And so, each hospital has been apportioned
a pro rata share of the limited amount of money in the EE Prograrn, payable according to each

hospital`s claimed share of the total extraordinary expense claims incurred in Pennsylvania each

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year. Because Defendants submitted a shocking number ofincorrect and overstated extraordinary
expense claims, ]_.ancaster General was paid far in excess of its pro rata share. This means that
other hospitals_specitically, the named Plaintift`s and the Plaintiff Class_were underpaid their
pro rata share and thereby injured in their business and property.

6. From Fiscal Year 2010 through Fiscal Year 2012, Lancaster General was overpaid
nearly $9 million from the EE Program. Given that only about $32.5 million in EE Program funds
were distributed to hospitals during those three years, this means that more than one out ofevery
four dollars disbursed during the relevant time period was improperly disbursed to Lancaster
General. This also means that the Plaintiffs and the Plaintiff Class were undercompensated by
nearly 39 million during those years.

7. Unsurprisingly, lancaster General has already effectively admitted that it would
Worlr a serious injustice for it to retain the millions of dollars in overpayments that it has received
for Fiscal Years 2010 through 2012. l_.ancaster General was also overpaid millions of dollars for
Fiscal Years 2008 and 2009, because it also submitted massive amounts of incorrect and overstated
claims during those years. But Lancaster General later complied with the Cornn‘ronwealth’s
instruction to return the money it Was improperly overpaid during those two fiscal year's, so that
the money could be redistributed to hospitals that were underpaid. I_.ancaster General did not bring
a legal challenge or otherwise question the legality of the Commonwealth’s instruction that it repay
its ill-gotten funds. l\/loreover, Lancaster General has for years maintained the millions of dollars
in overpayment that are at issue in this case_i.e., the overpayments received for Fiscal Years 2010
through 2012_as a reserve on its financial books, set aside for later redistribution.

8. Pennsylvania’s Auditor General, who oversees the Extraordinary Expense

Program, has already coneluded, in a number of reports issued across several years, that Lancaster'

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Genera] submitted huge numbers ot` incorrect and overstated claims and has been massiver
overcompensated under the EE Program. The Auditor General’s meticulous reports identify, for
all of the fiscal years relevant to this casc, the precise amount by which Lancaster General was
overpaid each year, and the precise amount by which Plaintiffs and the Plaintiff C`lass were
underpaid each year.

9. Nevertheless, Lancaster General has refused to repay the millions of dollars in ill-
gotten funds it has received from the public fisc as a consequence of the hundreds of invalid and
overstated extraordinary expense claims its employees submitted for Fiscal Years 2010 through
2012. ln other words, Defendants are intent upon enriching themselves to the tune of millions of
dollars, at the expense of Pennsylvania’s neediest citizens and the hospitals that provide charity
care to those citieens.

10. Plaintiffs thus bring this class action complaint, on behalf of themselves and all
others similarly situated, alleging claims under the Racketeer lnfluenced and Corrupt
Organjzations Act (“RICO"") as well as claims under Pennsylvania law for unjust enrichment,
money had and received, and constructive trust. Plaintiffs ask this Court to award them and the
Plaintiff Class treble damages, attomeys’ fees, and the other relief to which they are entitled under
federal and state law.

.]UR]SDICTION AND VENUE

ll. This Court has subject matter jurisdiction over Plaintiffs’ RICO claims under 13
U.S.C. § 1964(c) and 28 U.S.C. § 1331. This Court has subject rnatterjurisdiction over Plaintifl`s'
state law claims under 23 U.S.C. § 1367.

12. Venue is proper in this Court under 18 U.S.C. § 1391(1:)) and 18 U.S.C. § 1965(a)

because at least one Defendant resides in this district and all Defendants are residents of

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Pennsylvania; Defendants transact their affairs in this district; a substantial portion of the events
giving rise to this suit occurred in this district; a substantial part of property that is the subject of
this action is situated in this district; and at least one Defendant is subject to personal jurisdiction
with respect to this case.
PARTIES

13. Plaintiff ST. LUKE’S I-IEALTH NETWORK, INC. d/b/a S'l`. LUKE’S
UNIVERSITY 1-1EALT1~1 NETWORK (“St. Lulte’s University Health Network" or “St. Lulte’s”)
is a non-profit corporation comprised of ten hospitals, a regional medical school campus, the
nation’s longest continuously operating nursing school, the largest hospital-based EMS service in
Pennsylvania, more than 1,400 physicians and providers, numerous primary and specialist care
sites, and various outpatient testing and service facilities. St. Lulte`s is headquartered and has its
principal place of business in Bethlehem, Pennsylvania. St. Lulte"s brings this case individually
and on behalf of all others similarly situated.

14. Plaintiff SAINT LUKE’S HOSPITAL OF BETHLEHEM, PENNSYLVANIA
d/b/a ST. LUKE’S UNIVERSITY l-IOSPITAL - BETI-ILEI~IEM CAM.PUS ("‘St. Luke’s
Bethelem°’) is a non~profit corporation and a member of`the St. Luke’s University Health Network.
St. Lul<e’s Bethlchem is headquartered and has its principal place of business in Bethlehem,
Pennsylvania. St. Luke’s Betl‘llehem brings this case individually and orr behalf of all others
similarly situated.

15. PlaintiffST. LUKE’S QUAKERTOWN l-lOSPl'l`Al_, (“St. l_.ulre’s Qualtertown") is
a non-profit corporation and a member of the St. [.ul<e’s University Health Network. 3a Luke’s
Quakertown is headquartered and has its principal place of business in Qualtertown, Pennsylvania.

St. Luke’s Quakertown brings this case individually and on behalf of all others similarly situated.

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16. Plaintiff CARBON-SCI`{UYLKILL COMMUNITY HOSPI'I`AL d/bfa ST.
LUKE’S MINERS MEMOR[AL HOSPITAL (“St. Luke’s Miners") is a non-profit corporation
and a member of the St. Luke’s University Health Network. St. Luke’s Miners is headquartered
and has its principal place of business in Coaldale, Pennsylvania. St. Luke’s l\/liners brings this
case individually and on behalf of all others similarly situated.

17. Plaintiff BLUE MOUNTAIN HOSPITA]_, dfb/a ST. LUK.E’S HOSPITAL
_ PALl\/IERTON CAMPUS (“St. Luke’s Palmerton") is a non~prol'it corporation and a member of
the St. Luke’s University Health Network. St. Luke’s Palmerton is headquartered and has its
principal place of business in Palrncrfon, Pennsylvania. St. l_.uke’s Palmerfon brings this case
individually and on behalf`of all others similarly situated

13. Defendant LANCASTER GENERAL l'lOSPlTAL (“Lancaster General 1~lospital")
is a corporation that is part of Lancaster General l-lealthfPenn Medicine, a member of the
University of Pennsylvania Health System. Lancaster General l-lospital is headquartered and has
its principal place ol`business in Lancaster, Pennsylvania.

19. Defendant LANCASTER GENERAL HEALTH (“Lancaster General I“Iealth”) is a
corporation that is a member of the University of Pennsylvania l-lealth System. Lancaster General
I-Iealth’s network encompasses Lancaster General Hospital. Lancaster General Health is
headquartered and has its principal place of business in Lancaster, Pennsylvania.

20. Defendant UNIVERSITY OF PE.NNSYLVANIA HEALTH SYSTEM (“Penn
Medicine“) is a medical entity that oversees and operates multiple hospitals and medical facilities
in Pennsylvania, including Lancaster General l-lospital and Lancaster General Health. Penn
Medicine is a division of the Trustees of the University of Pennsylvania. Penn Medicine is

headquartered in and has its principal place of business in Philadelphia, Pennsylvania.

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21. Defendant ’l`RUS'l`EES OF r1`1-113 UNIVERSITY UF PENNSYLVANIA
(“University ol`Pennsylvania”) is a corporation that owns and operates Penn Medicine._, Lancaster
General I'lospital, and Lancaster General l'lealth. The University of Pennsylvania is headquartered
in and has its principal place of business in Philadelphia, Pennsylvania.

22. Defendant .1 OHN DC)l-Z 1 is an employee of Lancaster General who developed and
oversaw implementation of the fraudulent claims submission policy that is the subject of this
lawsuit.

23. Defendant .l 01-11\1 DOE 2 is an employee of Lancaster General Who implemented
the fraudulent claims submission policy by submitting the fraudulent claims to the Department and
the Commonwealth of Pennsylvania via the wires._

FACTS
The Tobacco Settlement Act’s Extraordinarv Expense Program.

24. 111 November 1993, Pennsylvania and 45 other Stafes entered into the “Master
Settlement Agreement” with some of the nation’s largest cigarette manufacturers The l\/laster
Scttlement Agreement released the cigarette manufacturers from claims regarding the advertising,
marketing, and promotion oi`cigarettes in exchange for about 3206 billion over 25 years. These
payments were designed in part to allow the States to recover the massive amounts of tobacco-
related health care costs they would have to incur in the coming years.

25. 111 .lune 2001 , the Pennsylvania General Assel.nbly enacted the Tobacco Settlement
Act, P.L. 7551 No. 77, ns nnrended, 35 PA. CoNs. STAT. § 5701.101 er seq. (“the Act”), to allocate
Pennsylvania’s share ot" the Master Settlenient Agreement l`unds- We refer to this money as the
“'l`obacco Settlemcnt Fund."` Pursuant to the Act, Pennsylvanians decided to allocate the

Comnronwealth’s Tobacco Settlement Fund to hospitals that provide charity care. The Act’s

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purpose was to offset the losses that these hospitals regularly incurred when they provided this
charity care to Penn.sylvania’s neediest citizens

26. The Act established two programs to allocate the Tobacco Settlement Fund: the
Hospital Uncompensated Care Program (“the UC Program”), and the l-Iospital Extraordinary
Expenses Program (“the 1313 Program”). 'l` he UC Program receives 35% of the funding, while the
EE Program receives the remaining 15% of the funding. 35 PA. CoNs. STAT. § 5701.1106(b).

27. The UC Program provides compensation to hospitals that meet certain statutory
criteria, including that they accept all individuals regardless of their ability to pay for emergent
medically necessary services. 35 PA. CONs. STAT. § 5701.1 104(b)(`l). 'l`he UC Program is not at
issue in this case.

23. This case is about recipients of funds under the EE Program, which makes funds
available to reimburse hospitals that do not receive funds pursuant to the UC program. The EE
Program reimburses these hospitals for “extraordinary expenses” they incur when they treat
persons without health insurance, such as high cost trauma patients. The Act defines “extraordinary
expenses” as the cost of hospital inpatient services provided to an uninsured patient which exceeds
twice the hospital’s average cost per stay for all patients. 35 PA. CoNs. STAT. § 5701.1102.

29. The Act specifies howr EE Program funds must be distributed to participating
hospitals. The Act states that the payment to participating hospitals shall equal the lesser of: (1) the
hospital’s extraordinary expenses or (2) the prorated amount o'l" each hospital’s percentage of
extraordinary expense costs as compared to all eligible hospitals’ extraordinary expense costs, as
applied to the total funds available in the l-Iospital Extraordinary Expense Frogram for the fiscal

year. 35 PA. CoNs. STAT. § 5701.1105(¢;1).

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301 Hospitals submit their extraordinary expense data through an Internet portal to the
Pennsylvania Health Care Cost Containment Council (“the PHC4“ or “the Council"). Hospitals
have an opportunity to submit claims on a quarterly basis, and then they may adjust their claims
for accuracy about 13 months after their final quarterly submission for a given fiscal year.

31. The Act prohibits hospitals from submitting invalid or overstated extraordinary
expense claims, from being compensated for invalid or overstated extraordinary expense claims,
and from receiving or retaining more money from the EE Program than the hospital is entitled to
receive or retain under the Act. The Act further states that in no case shall payments to a hospital
under the statute exceed the aggregate cost of services furnished to patients with extraordinary
expenses.

32. The EE Program is overseen by the Pennsylvania Department of l-luman Services
and formerly by its predecessor the Department of`Public Welfare (collectively, “the Department”)
and by the Pennsylvania Auditor General (“the Auditor General"). The Department allocates funds
pursuant to the EE Program, and t.he Auditor General reviews the accuracy of those allocations
During some past fiscal years, the Department used the results of the Auditor General’s report to
claw back and redistribute funds that were incorrectly overpaid to Lancaster General and other
hospitals.

33. The Department’s duties include, inter arlio, the administration of the EE. Frogram;
the collection of data necessary to administer t.he EE Program, including but not limited to data
from the Council; and the duty to contact the appropriate data source if there is missing data or

there is a need to obtain any other necessary infbrmation.

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Total Pavnrents Made Under the EE Program.

34. For Fiscal Years 2010 through 2012, the total amount of extraordinary expenses
claimed by participating hospitals exceeded the total funds available i11 the EE Program. For
example, for l~`iscal Year 201 1, 67 hospitals submitted extraordinary expense claims totaling about
314 million, but the Department had less than 31 1 million to allocate under the EE Program that
year.

35. Because the EE Program was initially “oversubscribed" in each of these years, if
one hospital entered invalid or inflated extraordinary expense claims, that hospital would receive
an unjustly high proportion of the EE Progran‘r t`unds. This necessarily means that other hospitals-

those hospitals that did not enter incorrect or overstated extraordinary expense claims_would
receive less money than they are entitled to under the Act. For example, if I-lospital A incorrectly
claimed $3 million in extraordinary expenses when it had in fact incurred only 31 million in
extraordinary expenses1 I-Iospital A would be over-compensated I-lospitals B_, C, and D, Which
correctly reported the amount of their extraordinary expense claims, would receive substantially
less than the pro rata share they are entitled to under the Act.

36. Across Fiscal Years 2010 through 2012, the Department made payments of about
$32.5 million to Pennsylvania hospitals pursuant to the EE Program.

37. For Fiscal Year 2010_, in November 2010, the Department distributed $13,230,546
in extraordinary expense payments to 70 hospitals_. based on 739 extraordinary expense claims
submitted for the period Jtrly 1, 2007 to june 30, 2003. l-lowever, as concluded by a later audit of
the Pennsylvania Auditor General_. only 439 of those claims_or 62% of all claims_were
allowable, While an additional 47 claims not included in the Department’s database were

allowable The Auditor General determined that the Department made a net overpayment of

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5859,496, The Auditor General also determined that 54 hospitals were underpaid a total of
$4,727,010, and 16 hospitals were overpaid a total of $5,536,506. See EUGENE A. DEPASQUALE,
P'F.Nr~ts'~eri/\Nlal ALIDITOR GENERAL, StJMM/\Rv REPoRT oN THE REsLILTs or THE INDIVIDUAL
Rr=.vlr.ws or 70 Hosr>rrat.s Rncnlvmo Ex'ntnonomnnv Exr-*r.=.NsF. Toaacco FuNr_) PAvivir.N'rs novo
94 HosrrrAts Rl;-;ct-:rvtno UncoMri-;Nsart:n CAR\'~: Toa/-\cco Fuer PAvr\/rr.-:n'rs r-'norvr ‘rr-u=.
DsPARTMsNT or Puet.rc Wnt,l=ArtE m Novalvraaa 2010 (May 23, 2014) (attached as Exhibit A).

33. For Fiscal Year 2011, in November 2011, the Department distributed $10,911,974
in extraordinary expense payments to 63 hospitals, based on 436 extraordinary expense claims
submitted for the period .luly 1, 2008 to June 30, 2009. Hovvever, as concluded by a later audit of
the Pennsylvania Auditor General, only 337 of those claims_or 30% of all claims_were
allowable, while an additional 50 claims not included in the Department’s database were
ailowable. The Auditor General determined that the Department made a net overpayment of
$855,649. The Auditor General also determined that 46 hospitals were underpaid a total of
$1,941,963, and 22 hospitals were overpaid a total of $2,797,612. See EUGENE A. DEPASQUALE,
PENNvavANlA Auorrort GENERAL, HosPiT/~.Ls’ Suaslov ENTrrLEMENT ro Exraaonolwnnv
EXP|L",NSE AND UNCOM|’|ENSA`]"['§U CARI£ PAYM[E`N'|`S R|lit`,`ij-LIV|SD l"ROM `|`l“|l.`i lei|’AR'l"|\/llil`l‘l` Ol"` PUI‘!|.|C
WELFARE m NovEMeaa 2011 (Oct. 2, 2014) (artached as Exhibit 13).

39. For Fiscal Year 2012_, in August 2012, the Department distributed $3,462,497 in
extraordinary expense payments to 66 hospitals, based on 300 extraordinary expense claims
submitted for the period .luly 1, 2009 to .lune 30_, 2010. l-Iowcver, as concluded by a later audit of
the Pennsylvania Auditor General, only 586 of those claims_or 73% of all claims_were
allowable, while an additional 29 claims not included in the Department’s database were

allowable The Auditor General determined that 43 hospitals were underpaid a total of $2,090,939,

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and that 13 hospitals were overpaid by that same amount. See EUGENE A. DEPAsQLI/\I.E,
PlaNNsYt.vANIA Auol‘l‘oa th`-;Nliaat, Hosrrrncs’ Suosrnv EN'rn'Lr-.ML-:N'r 'ro Exrrmoaomaav
Ext=-E:Nsa AND UNcoMPENsA'rEo CAnE PAYMENrs Racalvao FnoM THE DEPARTMENT or HUMAN
Saavrcas IN Aucusr 2012 (Apr. 15, 2015) (artachecl as l£xhibit C).

40. The following table summarizes the total payments actually made pursuant to the

EE Program from Fiscal Year 2010 through Fiscal Year 2012:

 

 

 

 

 

 

 

 

2010 2011 2012
Pat'ticipating Hospitals 70 68 66
Am»""f(';g;s“"$ an mg at
Overpaid Hospifals 16 22 13
Amount Overpaid (3M) 35.6 32.3 32.1
Underpaid I'Iospitals 54 46 43
Amount Undcrpaid 34.7 31.9 32.1
Net Dverpayment (3M) 30.9 30.9 --

 

 

 

 

 

 

Dechants Massivelv Intlatc Lat_lcastcr Gcncral’s Egtraordigarv Egpgse Claim_s.

41. This case is about Defendants’ years-long practice of submitting massiver inflated
extraordinary expense claims As a consequence of these invalid extraordinary expense claims,
Lancaster General has been unjustly enriched by about 39 million from the 1313 Program for Fiscal
Years 2010 through 2012. Put differently, more than 25% of all moneys distributed from the EE
Program over these three years were wrongfully and unlawfully allocated to Lancaster General

rather than Plaintif`fs and the Plaintiff Class.

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42. For Fiscal Yesr 2003, Lancaster General l-Iospital: (a) submitted on or about
November 30, 2005, claims for payments based on claims from July 1 to September 30, 2005;
(b) submitted on or about February 23, 2006, claims for payments based on claims from 0ctober
1 to December 31, 2005; (c) submitted on or about l\/lay 31, 2006, claims for payments based on
claims from January 1 to March 31, 2006; (d) submitted on or about August 31, 2006, claims for
payments based on claims from April 1 to .1 une 30, 2006; and (e) submitted its annual verification
of these claims on or about February 10, 2003.

43. Sometime before March 2003, John Doe 1, an employee at Lancaster General,
developed a plan whereby the hospital would pad the claims it submitted to the Commonwealth
through the 131-1134 lntemet portal and thereby secure for Lancaster General more than its lawful
funding under the 1313 Program. To that end, on or around February 10, 2003, as well as during the
quarterly submission dates for l*`iscal Year 2003 identified above, .lohn Doe l instructed .lohn Doe
2_another Lancaster General employee-to prepare and submit through the PHC4 portal
materials purporting to show that, during Fiscal Year 2003, Lancaster General Hospital was
entitled to 32.3 million under the EE Program. A July 26, 2010 report by the Auditor General
would later reveal that for Fiscal Year 2008 Lancaster Cieneral Hospital was entitled to less than
half that amount, or only 31.1 million from the EE Program. .lohn Doe 1 and John Doe 2 knew
that the Fiscal Year 2003 submissions were false1 and each transmission of information over the
lnternet through the P1-1C4 portal for Fisca]. Year 2003 constituted a separate act of wire fraud
under 13 U.S.C. § 1343.

44. For Fiscal Year 2009_, Lancaster General Hospital: (a) submitted on or about
November 30, 2006, claims for payments based on claims from .luly 1 to September 30, 2006;

(b) submitted on or about liebruary 23, 2007, claims for payments based on claims from C)ctober

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1 to December 31, 2006; (c) submitted on or about May 31, 2007, claims for payments based on
claims from January 1 to March 31, 2007; {d) submitted on or about August 31, 2007_, claims for
payments based on claims from April 1 to June 30, 2007; and (e) submitted its annual verification
of these claims on or about February 10, 2009.

45. lohn Doe 1 and lohn [`)oe 2 were again responsible for' misrepresentations made to
the C`,omrnonwealth through submissions on the PHC4 internet portal for Piscal Year 2009. On or
about February 10, 2009, as well as during the quarterly submission dates f`or Fiscal Year 2009
identified above, .lohn Doe 1 instructed John Doe 2 to prepare and submit through the P1-1C4 portal
materials purporting to show that during the relevant period Lancaster General 1-lospital had
incun‘ed total costs qualifying for reimbursement under the EE Pr'ogram of over 37.9 million. A
February 16, 2012 report by the Auditor General would later determine that Lancaster General
I~lospital had only 31.3 million in qualifying expenses ln other words, the 2009 Fiscal Year
submission prepared by lohn Doe 1 and Jolm Doe 2 falsely represented that Lancaster General
Hospital incurred roughly six times more in qualifying extraordinary expenses than it had actually
incurred As a result of this misrepresentation Lancaster General Hospital received nearly 32.9
million from the 1313 Program that should have been distributed to Plaintiffs and other members of
the Plaintiff Class in Fiscal Year 2009. The transmission of each of the fraudulent Fiscal Year
2009 submissions over the lnternet by John Doe 1 and .lohn Doe 2 was a separate act of wire fraud
under 13 U.S.C.§ 1343.

46. in sum, by and through .lohn Doe 1 and .lohn Doe 2, Lancaster General submitted
massive amounts of invalid or overstated extraordinary expense claims for Fiscal Years 2003 and
2009, resulting in millions of dollars of overcompensation. For Fiscal Year 2003, Lancaster

General was overpaid 31.7 million, representing 62% of the 32.3 million in overpayments made

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that year. For Fiscal Year 2009, Lancaster General was overpaid 3219 million, representing 73%
of the 33.9 million in overpayments that year. The Commonwealth ultimately ordered Lancaster
('_`ieneral to repay excess sums it collected under the 1313 Program for 13 iscal Years 2003 and 2009.
But, as detailed below, 1 ohn Doe l and .lohn Doe 2 continued to submit fraudulent claims to the
Commonwealth f`or Fiscal Years 2010, 2011, and 2012. Lancaster Cieneral has not repaid the
excess sums it received from the 1313 Program during Fiscal Years 2010, 201 1, and 2012.

47. For Fiscal Year 2010, Lancaster General l'lospital: (a) submitted on or about
November 30, 2007, claims for payments based on claims from .luly 1 to Scptember 30, 2007;
(b) submitted on or about February 29, 2003, claims for payments based on claims from October
1 to December 31, 2007; (c) submitted on or about l\/lay 31, 2003, claims for' payments based on
claims from lanuary 1 to l\/larch 31, 2003; (d) submitted on or about August 31, 2003, claims for
payments based on claims from April 1 to .lune 30, 2003; and (e) submitted its annual verification
of these claims on or about February 10, 2010.

43. On or about February 10, 2010, as well as during the quarterly submission dates for
l"iscal Year 2010 identified abovc, John Doe 1 instructed .lohn Doe 2 to prepare and submit through
the PHC4 portal Lancaster General Hospital’s Fiscal Year 2010 EE program claims. These
submissions represented that during the relevant period Lancaster General l~lospital had 297
qualifying claims for which it incurred almost 311 million in expenses For Fiscal Year 2010`
Lancaster General I"Iospital`s claimed expenses represented 46.7% of all qualifying expenses
claimed by all hospitals_a figure that shows that the submission was so grossly inflated that those
who prepared it knew or should have known it was l`alse. A May 23_. 2014 report by the Auditor
G‘eneral reveals that in fact only 51 of those claims were qualifying claims, and that Lancaster

C}eneral l-Iospital should have received only 31.3 million for Fiscal Year 2010. As a result of these

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misrepresentations Lancaster General Hospital received roughly $4.9 million from the 1313
Program that should have been distributed to Plaintiffs and other members of the Plaintiff Class in
Fiscal Year 2010. E`.ach of the fraudulent Fiscal Year 2010 transmissions sent over the Internet by
.lohn Doe 1 and .lohn Doe 2 was a separate act of wire fraud under 13 U.S.C. § 1343.

49. For Fiscal Year 201 1, Lancaster General Hospital: (a) submitted on or about
N`ovember 30, 2003, claims for payments based on claims from .luly 1 to September 30, 2003;
(b) submitted on or about February 23, 2009, claims for payments based on claims from October
1 to December 31, 2003; (_c) submitted on or about May 31j 2009, claims for payments based on
claims fi'om lanuary 1 to March 31, 2009; (d) submitted on or about August 31, 2009, claims for
payments based on claims from April 1 to .lune 30, 2009; and (e) submitted its annual verification
ofthese claims on February 10, 2011.

50. On or about February 10, 201 1, as well as during the quarterly submission dates for
Fiscal Year 2011 identified above, John Doe 1 instructed John Doe 2 to prepare and submit still
more fraudulent 1313 Program reimbursement requests through the PI'1C4 portal. The Fiscal Year
201 1 submissions claimed that Lancaster General l-lospital had 111 qualifying claims for which it
had incurred more than $4.6 million in expenses But an October 2, 2014 report by the Auditor
General shows that in fact only 31 of those claims were qualifying claims, and that Lancaster
General Hospital should have received only about 31 .2 million in Fiscal Year 201 1 . The falsehoods
in the liiscal Year 2011 induced the Commonwealth to disburse almost 32.4 million to Lancaster
General Hospital that should have been paid to Plaintiffs and other members ofthe Plaintiff Class
in Fiscal Year 2011. The transmissions of the fraudulent Fiscal Year 201 l submissions over the

Internet by .lohn Doe 1 and lohn Doe 2 were acts of wire fraud under 13 U.S.C. § 1343.

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51. For Fiscal Year 2012, Lancaster General I-lospital: (a) submitted on or about
November 30, 2009, claims for payments based on claims from .luly 1 to September 30, 2009;
(b) submitted on or about February 23, 2010, claims for payments based on claims from October
l to December 31. 2009; (c) submitted on or about May 31, 2010_. claims for payments based on
claims from .lanuary 1 to March 31, 2010; (d) submitted on or about August 31, 2010, claims for
payments based on claims frorn April 1 to .1une 30, 2010; and (c) submitted its annual verification
of these claims on February 9, 2012.

52. On or about February 9, 2012, as well as during the quarterly submission dates for
Fiscal Year 2012 identified above, John Doe 1 instructed John Doe 2 to prepare and submit through
the Pl-IC4 portal additional fraudulent 1313 Program reimbursement requests These submissions
stated that Lancaster General Hospital had 133 qualifying claims for Fiscal Year 2012 for which
it incurred expenses of over 33 million But an April 15, 2015 report by the Auditor General
revealed that in fact only 53 of those claims were qualifying claims, and that Lancaster General
1'Iospital should have received only 31.1 million in fiscal Year 2012. As a result of the
misrepresentations in the Fiscal Year 2012 submissions, Lancaster General Hospital received over
31.5 million from the EE Program that should have been distributed to Plaintiffs and other
members of the Plaintiff Class. The transmissions of the fraudulent Fisoal Year 2012 submissions
over the lnternet by lohn Doe 1 and .lohn Doe 2 were acts of wire fraud under 13 U.S.C. § 1343.

53. As detailed above, .1 ohn Doe 1 and .1 ohn Doe 2 engaged in a years-long practice of
submitting invalid and inflated 1313 Program reimbursement requests to the Commonwealth. For
example, they submitted claims on behalf of Lancaster General l-Iospital for service that was not
provided to an uninsured patient and that did not exceed twice the bospital’s average cost per stay

for all patients These claims were invalid or overstated for a number of reasons including that the

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patients were not in fact uninsured, the cost of service did not exceed the hospital’s actual average
cost per stay for all patients, Lancaster General Hospital received partial or total compensation for
the care, and Lancaster General Hospital never even provided the care that they claimed to have
provided in their claims submissions Lancaster General l-lospital’s actual pro rata share of
submitted, qualified claims was far smaller than the share used in the Department’s initial
distribution

54. From Fiscal Year 2010 through liiscal Year 2012, Lancaster Cieneral l-lospital
submitted a total of 596 claims under the EE Program, or about 30% of all extraordinary expense
claims submitted by all approximately 100 hospitals across that three-year period. Fully 456 of
Lancaster General l-Iospital’s claims were rejected as invalid by the Auditor General, which means
that more than 75% of all the claims they submitted were invalid. In other words, the overwhelming
majority of claims they submitted were invalid. By contrast, only 157 of the 1 ,479 claims submitted
by ali other hospitals combined_or about 10% of other hospitals’ claims_were invalid.
Lancaster General thus submitted invalid claims at a rate 7.5 times higher than all other hospitals

55. The circumstances surrounding Lancaster t'_ieneral’s 1313 Program reimbursement
requests make plain that John Doe 1 and John Doe 2 knew that they were making false
representations Even after the Auditor General released a report on .luly 26, 2010 that revealed
that Lancaster General l'iospital’s reimbursement request for Fiscal Year 2003 was grossly
infiated, John Doe 1 and .Iohn Doc 2 continued to transmit inaccurate claims and expense data to
the Commonwealth for two additional fiscal years. Moreover, Lancaster (`_ieneral had 13 months
or more to confirm the accuracy and reconcile its claims before submitting its annual verification
for any particular year, yet Lancaster Ciencral failed to correct the false and fraudulent submissions

for which John Doe 1 and .lohn Doe 2 were responsible

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56. The fraudulent intent of John Doe 1 and John Doe 2 is further demonstrated by the
fact that Lancaster General submitted invalid or overstated claims for reimbursement that far
outpaced the false-claim rate for other hospitals The massive amounts by which Lancaster General
was overcompensated demonstrate that John Doe 1 and John Doe 2 deliberately engaged in a
scheme, lasting at least during the submission periods for Fiscal Years 2003 through 2012, to
submit extraordinary expense claims, knowing they were false. The aim of this scheme was to
defraud the Department, the Auditor C`reneral, the PHC/-l, the citizens of Pennsylvania, and
Plaintiffs and the Plaintiff Class_i.e., the dozens of law-abiding hospitals that provide care to
Permsylvania’s neediest citizens lndeed, Lancaster Creneral“s own in-house finance department
has admitted that the hospital was systematically overpaid.

57. Defendants’ scheme caused Lancaster General to be massiver overcompensated
under the 1313 Program. Between 2010 and 2012, Lancaster General was paid about 312.4 million
under the 1313 Program, but in fact it should have been paid only about 33.6 million, or less than
30% of what it was actually paid. Lancaster was overpaid roughly 33.3 million over those three
fiscal years

53. The overpayments to Lancaster General and underpayments to Plaintiffs and the
Plaintil`fClass were made over the interstate wires by the Department on or about the following
dates: November 29, 2010, for Fiscal Year 2010; November 14, 201 1, for Fiscal Year 2011; and
August 27, 2012, for Fiscal Year 2012 Each of these transmissions constituted wire fraud because
they were an integral part of the scheme by Jolm Doe 1 and .lohn Doe 2 to defraud the 1313 Program
and deprive the named Plaintiffs and the Plaintiff Class of fttnds to which they were entitled. Each

of these transmissions was made from the Departrnent to Lancaster General Hospital.

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59. The following table identities for Fiscal Year 2010 through Fiscal Year 20121
(1) the number of claims Defendants submitted under the EE program, (2) the number ofits claims
that were rcjected, (3) the amount of extraordinary expense claims requested by Defendants,
(4) the amount actually paid to Defendants under the 1313 Program based on the false and fraudulent
submissions (5) the amount it would have received if it had only submitted legitimate

extraordinary expense claims, and (_6) the amount by which it has been overpaid and unjustly

 

 

 

 

 

 

 

 

 

enriched:
Lancaster General Hospital Overpayment (201|] - 2012)
FYE 2010
Clairns Made 297
Claims Rejected 246
Amount of 1313 Claims Submitted 310,972,037
Amount Paid By the Department 36__213,233
Legitimate Entitlement $1,304,660
Unjust Enrichment 34,903,623
FYE 2011
claims Maae ' r 1 1
Claims Rejected 30
Amount of1313 Claims Submitted $4,601,155
Amount Paid 13y the Department 33,602,735
Legitimate Entitlemcnt 31,226,321
Unjust Enrichment 32,376,464
FYE 2012
Claims Made 133
Claims Rejected 130
Amount of 1313 Claims Submitted 33,022,333
Amount Paid By the Department 32,616,519
l_.egitimate l3ntitlement 31,109,031
Unjust 1311richment 31 ,507,433

 

 

 

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60. The Auditor General has recognized th.at Defendants have submitted an enormous
amount of invalid or overstated claims, causing them to receive many millions of dollars in
overpayment. For Fiscal Years 2010 through 2012, the Auditor Gencral has issued reports
identifying the amount by which each hospital has been underpaid or overpaid pursuant to the EE
Program. The Auditor General has thus already conducted the appropriate damages calculation for
this case.

61. 'l`he Auditor General has criticized Lancaster General for submitting massive
amounts ol"irtvalid or overstated claims to the Department and for helping itself to literally millions
of dollars in ill-gotten overpayments The Auditor General emphasized in an October 2014 report
on the Fiscal Year 201 l distribution that “one hospital, Lancaster General, accounted for 35% of
the $2.8 million in overpayments made to 22 hospitals.“ The following year, in April 2015, the
Auditor General emphasized that “[l]or the 2012 extraordinary expense payment, one hospital
(Lancaster General Hospital) accounts for 72% ol` the $2.1 million in overpayments made to 18
hospitals.”

62. Defendants apparently stopped their practice of submitting massive amounts of
invalid or inflated claims in Fiscal Year 2013. ln that year, Lancaster General l-lospital submitted
only 23 claims and received only $483,100 in extraordinary expense payments that year. The
Auditor General ultimately determined that Lancaster General Hospital should have been paid
$863,957 that year.

63. The following chart illustrates the massive number of illegitimate claims
Defendants submitted from Fiscal Year 2010 through Fiscal Year 2013. The light grey bar
represents the claims that Defcndants actually submitted and the dark grey bar represents the

number of those claims that were legitimate The significant drop-off in claims in 2013. When

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Defendants apparently halted their years-long practice of deliberately or recklessly submitting

invalid extraordinary expense claims, showsjust how inflated their claims were from Fiscal Years

2010 through 2012:

Lancaster General ~ EE Program Claims (2010 - 2013)
300

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2010 2011 2012 2013
Clalms I'vlade to DHS a Legltlmate Clalms
64. The following chart illustrates the massive overpayments Defendants received from

Fiscal Year 2010 through Fiscal Year 2013. The light grey bar represents the payments that
Del"endants reoeived, and the dark grey bar represents the amount that Defendants should have
been paid during that time period. Once again, the massive drop-off in the amount that Defendants

received in 2013 indicates the scale of the hospital’s unjust enrichment during the previous years:

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Lancaster General -- EE Program Paymenta (2010 - 2013)

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2010 2011 2012 2013

 

Received Frcm DH$ t_\ Entit;|ement Under the Act

65. Defendants’ misrepresentations were material to the Department“s decision to
allocate to Lancaster General a greater share of the 1313 Program than it was entitled to under law,
and the Department relied upon those misrepresentations When it disbursed extraordinary expense
payments to Lancaster General for Fiscal Years 2008 through 2012.

65. 1 ohn Doe l and John Doe 2 made their representations with the intent of misleading
the Pennsylvania government, including the Department, and Plaintiffs and the PlaintiffClass, into
relying on the misrepresentations about bow much extraordinary expense funds Lancaster General
Hospital was entitled to.

67. The Department conferred a benefit upon Lancaster General by overpaying it funds
from the EE Program fund. Plaintiffs and the Plaintiff Class conferred a benth upon Lancaster
Cieneral by submitting their extraordinary expense claims in good faith, and by not submitting a
massive number of incorrect, invalid, and inflated claims, thereby not overstating their entitlement
to funds under the EE Program.

68. Del"endants’ submission of the incorrect and overstated EE Program claims was

deliberate and fraudulent, but in the alternative, it was unintentional, accidental, and negligent.

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69. Although the information about Which entity possesses the overpaid moneys is in
the exclusive possession of the Defendants, on information and belief, Lancaster General I~Iospital,
Lancaster General Health, Penn Medicine, and the University of Pennsylvania arc in possession
of the overpaid funds.

Mcaster Gencral’s It_lvalid Clairgs Inigre the Plaintiff Class.

70. Defendants’ submission of a massive amount of invalid or overstated extraordinary
expense claims injured Plaintiffs and the Plaintiff Class, and unjustly enriched Lancaster General
at the expense of"Plaintiffs and the Plaintiff Class.

71. As discussed_. from Fiscal Year 2010 through Fiscal Year 2012, the EE Program
was “oversubscribed”: the amount of reimbursement requests submitted exceeded the total amount
of money in the EE' Program’s fund. Accordingly, each hospital received a pro rata share of the
total fund. Because Defendants incorrectly claimed to have incurred extraordinary expenses far in
excess of what they actually incurred, other hospitals_Plaintil"fs and the Plaintiff Class_were
undercompensated by millions of dollars.

72. For example, because of Lancaster General’s invalid claims, the named Plaintiffs
received about $580,000 less than they should have received under the Act.

73. St. Luice’s Bethlehcm participated in the EE Program in FYE 2010. St. Luke’s
Bethlehem was paid $1,273__310 under the EE Program that yean bth it should have been paid
$1,826,568. St. Luke’s Bethlchem was therefore undercompensated $553,253 during FYE 2010.

74. St. Luke’s Quakertown participated in the EE Program in FYI`:`. 2010 and 17 YE 201 l.
St. Luke’s Quakeitowii was paid $14,790 under the EE Program in FYE 2010, and $22,101 in

FYE 2011. However, St. l_.ulce’s Quakertown should have been paid $26,501 in FYE 2010, and

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$29,173 in FYE 201 l. St. Luke’s Quakertown was titus undercompensated $1 1,71 1 during FYE
2010, and $7,072 in FYE 2011.

75. St. Luke’s l\/iinet"s participated in the EE Program in 17 YE 201 1. ('l`he hospital is
identified as “lvliners Memorial l\/ledical Center" in the Auditor General’s report for Fiscal Year
201 1). St. Lulte’s Miner’s was paid $16,520 under the EE Program that year, but it should have
been paid $21,183. St. Luke’s Miner’s was therefore undercompensated $4,663 during FYE 201 l.

76. St. Luke’s Palmerton participated in the EE Program in FYE 2012. (The hospital is
identified as “Palmerton Hospital” in the Auditor General’s report for Fiseal Year 2012.) St.
Luke’s Palmerton was paid $6,995 under the EE Program that year, bth it should have been paid
$10,478. St. Luke’s Palmerton was therefore undercompensated $3,483 during FYE 2012.

77. The following table identifies, for FYE 2010 through FYE 2012, (1) the number of
claims the named Plaintiffs submitted under the 1313 program, (2) the number of legitimate claims
they had that year, (3) the amount actually paid to those hospitals under the EE Program, (_4) the
amount these hospitals were entitled to under the Act_. and (5) the amount by which the hospitals

were underpaid each Fiscal Year:

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FYE 2010
Claims l\/iade
Legit Claims
Amount Paid
Legit Entitlement
Amt. Underpaid
FYE 2011
Claims l\/lade
l_.egit Claims
Amount Paid
Legit Entitlement
Amtr Underpaid
FYE 2012
Claims l\/lade
Legit Claims
Amount Paid
Legit Entitlement
Amt. Underpaid

 

 

 

 

 

 

Sf. Luke’s St. Luke’s St. Luke’s St. Luke’s
Bethlehem Quakerfown Miner’s Palmerfon
67 2 -- --

53 2 -" -,
$1,273,310 $14,790 -- __
$1,826,568 226_,501 __ __
($553,253) ($11,711) -- --

-- 2 1 __

-~ 2 1 ,-

" $22_.101 $16,520 --

'" $29,173 $21,183 -_

““ ($7,072) ($4,663) ~-

" " -- 1

" " '~ l

" " '- $6,995

" " " $10,478

““ ““ ~- (_$3,483)

 

 

 

 

73. About 74 hospitals were net underpaid about $3.4 million from l"iseal Years 2010

through 2012.

79. 'l`he following table identifies, for Fiscal Years 2010 through 2012, (l)the

27

(2) the approximate amount by which the hospitals were undel'cornpensated:

approximate number of undercompensated hospitals that are members of the Plaintiff Class, and

 

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2010 2011 2013
Underpaid Class
Members 49 43 45
Amount of
Undcrpaymenf ($M) $4'6 $1-9 $2.1

 

 

 

Lancaster General Admits That lt Has Bcen Uniustlv Enriched and Holds Its Funds In a
Constructivc Trust.

30. As discussed above, Defendants submitted invalid and inflated extraordinary
expense claims for Fiscal Ycars 2008 and 2009. As a consequence of these improper claims,
Lancaster General was overpaid about $1.7 million in FYE 2008 and about $2.9 million in FYE
2009. With respect to these overpayments for Fiscal Years 2008 and 2009, the Department, at the
suggestion and insistence of the Auditor General, required Lancaster Gcneral l-lospital and other
overpaid hospitals to repay the overpaid money for redistribution to hospitals that were improperly
underpaid Thus although Lancaster General was overpaid more than $4.5 million for Fiscal Years
2003 and 2009, Lancaster General has not retained those overpayments. Those overpaid amounts
have been transferred to their rightful owners, i.e., the hospitals that Werc underpaid during those
years, including members of the Plaintiff Class.

81. Lancaster General did not initiate legal action or otherwise object to the Department
and Auditor General’s determination that it had been overpaid for Fiscal Years 2008 and 2009,
and that it must repay the amounts by which it has been overpaid. Lancaster General has therefore
already admitted that it is not entitled to retain any overpayments they received, and that it holds
that money in trust for Plaintiffs and the Plaintifl`Class.

82. Just as Lancaster General recognized that it was not entitled to retain overpayments
for Fiscal Years 2008 and 2009, it has also recognized that it is not entitled to retain overpayments

for Fiscal Years 2010 to 2012. Lancaster General employees have admitted, including in a

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conversation between Lancaster General finance employees and St. Luke’s finance employees in
early 2016, that Lancaster General has maintained the overpayments for liiscal Years 2010 to 2012
on its books as “reserves” that are payable for future redistribution to the hospitals that were
underpaid during those years.

83. Only on or after the release of the May 23, 2014 report by the Auditor General Was
it publicly revealed for the first time that the Department would not require hospitals that had been
overpaid during li`iscal Years 2010 to 2012 to pay back their overpayments for reallocation to
hospitals that had been underpaid. indeed, the Department did not definitively decide that it would
not require such reallocations until sometime in 2016.

04. The Auditor General and the Department did not conduct an audit of 17 iscal Years
2008 and 2009 until several years after those funds were initially distributed to the recipient
hospitals. Lancaster General and other hospitals that were overpaid in Fiscal Year 2008 were not
required to pay back those overpayments until .lanuary 18, 2011. Lancaster General and other
hospitals that were overpaid in Fiscal Year 2009 were not required to pay back those overpayments
until June 21, 2012. Accordingly_, Plaintiffs and the Plaintiff Class had an expectation that the
Department Would make Lancaster General pay back any overpayments for Fiscal Years 2010 to
2012, and that Lancaster would comply with this order. Purther, Plaintiffs and thc Plaintiff Class
did not know (and could not have known) whether they were underpaid or overpaid, and whether
other hospitals including Lancaster General llospital were overpaid, in any given Fiscal Year until
after the release of the audit report for the particular Fiscal Year.

85. Plaintiffs and the Plaintiff Class did not become aware of their injuries until after
May 23, 2014 at the earliest, which is the release date for the Auditor General’s audit for Fiscal

Year 2010. ln that report, the Auditor General publicly disclosed Ibr the first time that Lancaster

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General had been overpaid, and that Plaintiffs and the Plaintiff Class had been underpaid, during
Fiscal Year 2010. Similarly, the Auditor General did not publicly disclose this same information
about Fiscal Year 201 l until after it released its audit report for that year on Gctober 2, 2014, and
it did not publicly disclose this same information about Fiscal Year 2012 until after it released its
audit report for that year on April 15, 2015. Moreover, prior to the publication ofthe lvlay 23, 2014
report on Fiscal Year 2010, the Departrnent had not publicly disclosed that it would not require
reallocation of overpayments made during Fiscal Years 2010 to 2012.

86. Plaintiffs and the Plaintiff Class did not receive a copy of the Auditor General’s
report on Fiscal Year 2010 until sometime after May 23, 2014. Only after receiving that report did
Plaintiffs and the Plaintiff Class become aware that they had been underpaid during Fiscal Year
2010 and that Lancaster General had been overpaid during Fiscal Year 2010.

87. After issuance of the l\/lay 23, 2014 report for Fiscal Year 2010, Lancaster General
did not publicly disavow its duty to disgorge itself of the ill-gotten gains it received as a
consequence of its submission of invalid or overstated extraordinary expense claims M`oreover,
Lancaster General did not renounce its decision to maintain the overpayments as reserves that are
payable for future redistribution to the hospitals that were underpaid dttring those years.

BS. Plaintiffs have demanded that Defendants pay them their pro rata share of the
amount by which Lancaster General was overpaid1 and by which Plaintiffs were underpaid. but
Defendants have rejected that demand.

89. Although Lancaster Gcneral has previously recognized the impropriety of retaining
overpayments, it has now retained about $9 million in overpayments that it received as a
consequence of its submission of massive amounts of invalid or overstated extraordinary expense

claims.

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90. ln light of the foregoing facts, the causes of action alleged herein did not accrue
and the injuries of Plaintiffs and the Plaintiff Class were not discoverable until after (a) the Auditor
General publicly disclosed on or after May 23, 2014 that Lancaster General had been overpaid for
Fiscal Year 2010 and that Plaintiffs and the PlaintiffClass had been underpaid for that Fiseal Year,
(b) the Department decided sometime in 2016 that it would not require reallocation of
overpayments, and (c) Lancaster General refused in 2017 to repay the money by which it had been
overpaid.

91. Plaintiffs and the Plaintiff Class were unaware of`and could not despite the exercise
of due diligence discover their injury until at least May 23, 2014, the release date for the Auditor
General’s report on Fiscal Year 2010.

92. Defendants misled Plaintiffs and the Plaintiff Class into believing that Lancaster
General had no intention of retaining any overpaid funds for Fiscal Years 2010 to 2012, and that
Lancaster General would instead pay those funds back to Plaintiffs and the Plainti ff Class once the
Auditor General completed its audit of the relevant fiscal year. Plaintiffs’ and the Plaintiff Class`s
injuries were neither known nor reasonably knowable, notwithstanding their exercise of due
diligence, until at least May 23, 2014. Indeed, given that Lancaster General had repaid its
overpayments from liiscal Years 2008 and 2009, and had further maintained future overpayments
as a reserve, Plaintiffs and the Plaintiff Class had no immediately ascertainable injury when
Defendants submitted the invalid claims and received overpayments for Fiscal Years 2010 through
2012. Moreover, Plaintiffs and the Plaintiff Class did not have access to, and thus could not even
review, Lancaster General’s extraordinary expense claims at the time they were submitted or since.

l\leither the injury nor its cause were reasonably ascertainable until after the 2014 release of the

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Auditor General report on Fiscal Year 2010 and after Lancaster Genera| refused in 2017 a demand
to pay back the amounts by which it has been overpaid.

93. Defcndants fraudulently concealed their wrongdoing through numerous affirmative
independent acts including but not limited to (a) repaying the amount of overpayments tier Fiscal
Years 2008 and 2009, which repayments were made on or about January 18, 201 l for Fiscal Year
2008 and rlanuary 18, 2012 for Fisoal Year 2009, (b) holding out to Plaintiffs and the Plaintiff
Class that they would repay the money that they had been overpaid for Fiscal Years 2010 to 2012,
(c) failing to disclose that they had been overpaid and that they would not repay those
overpayments for those Fiscal Years, (d) failing to disclose to the public their extraordinary
expense claims for Fiscal Years 2008 to 2012, and (c) holding their overpayments for Fiscal Years
2010 through 2012 on their books as payable for future redistribution to hospitals that were
underpaid. Through Defendants’ fraud, concealment, and deception, they caused Plaintifl"s and the
Plaintiff Class to relax their vigilance and deviate from their right of inquiry into the l`acts.
Plaintiffs and the Plaintiff Class were thus unaware of their cl.aims_. notwithstanding their exercise
of reasonable diligence, until Lancaster General refused in 2017 and 2018 to repay the money by
which it had been overpaid.

94. Plaintiffs and the Plaintiff Class were misled or relaxed in their investigation into
possible causes of action by reasonably relying on the representations set forth above.

95. Plaintiffs’ and the Plaintiff Class’s ignorance is not attributable to their lack of
diligence in investigating possible claims, because Plaintiffs and the Plaintiff Class vigilantly
reviewed the Auditor General ovetpaynrent reports, ensured that they were repaid the money that

they were underpaid in Fiscal Years 2008 and 2009, reviewed the Audit.or General"s 2010 Fiscal

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Year report as soon as it became available to them after l\/Iay 23, 2014, and sought repayment from
Defendants.

96. Defendants are equitably estopped from arguing that the statute of limitations bars
the claims of Plaintiffs and the Plaintiff Class because they induced Plaintiffs and the Plaintiff
Class not to sue or discover their injuries earlier, and because Plaintiffs and the Plaintiff Class
justifiably relied on that inducement

97. Plaintiffs’ and the Plaintiff Class’s claims did not accrue until 2017, and at a
minimum did not accrue until May 23, 2014.

98. Plaintiffs and the Plaintiff Class did not discover their injuries until 2017, and at a
minimum they did not discovery their injuries until lVlay 23, 2014.

99. Defendants’ fraudulent concealment lasted until 2017, and at a minimum until lVlay
23, 2014.

100. The statute of`limitations was tolled until 2017, and at a minimum until May 23,
2014.

Class Actioo Allegations.

101. The named Plaintiffs bring this action,l on behalf of themselves and all others
similarly situated, for the purpose of asserting the claims alleged in this complaint on a common
basis.

102. Plaintiffs propose a single Class seeking damages, injunctive relief, and declaratory
relief. 'l`he Class is defined as: All hospitals that participated in the l§`.xtraordinary l-i`.xpense Program
during Fiscal Year 2010, Fiscal Year 201 l, and/or Fiscal Year 2012, and whose net receipts from
the EE Program during those years was less than the share of EE Program funds they at'e entitled

to under the Tobacco Settlement Act.

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103. A class action is a superior means, and the only practicable means, by which the
named Plaintiffs and Plaintiff Class members can challenge the l')efendants’ unjust enrichment

104. The class is so numerous that joinder of all members is not practicable There are
more than 70 hospitals that are members of the Plaintiff Class.

105. There are questions of law or fact that are common to the Plaintiff Class, and the
relief sought is common to all members of the PlaintiffClass. Common legal and factual questions
arise from Defendants’ scheme to submit invalid, incorrect, and inflated extraordinary expense
claims from 2010 through 2012. The resolution of these legal and factual questions will determine
Whether all members of the class are entitled to damages payable according to their pro rata share
of the EE Program fund.

106. The claims and defenses of the representative parties are typical ofthe claims and
defenses of the Plaintif f Class. All PlaintiffClass members have the same claims, i.e., that the John
Doe Defendants are liable under 18 U.S.C. § 1964_, and that Lancaster ('_ireneral has been unjustly
enriched, has improperly retained money had and received, and holds Plaintiffs’ and the Plaintiff
Class’s money in a constructive trust, causing injury and damage to the class members Il" the
named Plaintiffs succeed on their claims, that ruling will likewise benefit every other member of
the Plaintiff Class. Any defenses that the Defendants raise are also likely to be raised equally
against all of the named Plaintiffs and the members of the Plaintiff Class.

107. The representative parties will fairly and adequately assert and protect the interests
of the Plaintiff Class.

108. The attorneys for the representative parties will fairly and adequately represent the
interests of the PlaintiffClass. The named Plaintiffs are represented by Cooper dc Kirk, PLLC, and

Webber McGill LLC_, two law firms that together have considerable experience litigating class

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action claims, and cases relating to false claims. These two law frmis also have detailed knowledge
of the Defendants` scheme and the applicable law, and they have done substantial work in
identifying and investigating the potential claims in the action, already collectively spending
significant time on this case to date. These two law firms have the resources necessary to represent
the class, and they will commit those resources to this case.

109. The representative parties do not have a conflict of interest in the maintenance of
the class action, and they have or can acquire adequate financial resources to assure that the
interests of the Plaintiff Class will not be harmed.

l 101 A class action provides a fair and efficient method for adj ttdicating the controversy.

lll. Class certification is appropriate under Fed. R. Civ. P. 23(b)(3) because common
questions of law or fact predominate over any questions affecting only individual members, and a
class action is superior to other available methods for fairly and efficiently adjudicating the
controversy. The principal legal and factual question in this case~whether the John Doe
Defendants are liable under 18 U.S.C. § 1964 and whether Lancaster General has unlawfully
retained millions of dollars in overpayment that rightly belongs to Plaintiffs and the Plaintiff
Class_is common to all Plaintiff Class members Once that question is answered in the
affirmative, all that will be required is the mechanical calculation of damages owed to each
Plainti ff Class member. This calculation has already been performed by the Auditor General for
each Plaintiff Class member in the Auditor General’s public reports regarding overpayments in
Fiscal Years 2010 through 2012. "l`he Plaintiff Class members have little interest in individually
controlling the prosecution ol" separate actions There is no other litigation already commenced by
or against members of the class involving any of the same issues. l\/loreover, it is desirable to

concentrate the litigation of the claims in this particular forum. The injured class members are all

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Pennsylvania hospitals, and the Eastern District of Fennsylvania is the home of the Defendants, is
where the cause of action arose, and is where a transaction or occurrence took place out of which
the cause of action arose. At least one class member resides in this District, at least one class
member was underpaid and injured in this District, payment to at least one class member is owed
and due in this District, and at least one class rnen‘tber submitted its extraordinary expense claims
for which it was underpaid from this Districtt The sine of the Plaintiff Class, and the minimal
difficulties likely to be encountered in the management of the action as a class action, further
support the conclusion that this case should be maintained as a class action. 'l`lie Plaintiff Class
includes more than 70 hospitals that were underpaid by as much as hundreds of thousands of
dollars or as little as a few thousand dollars (or even less). .loinder of all 70+ hospitals would be
impractical, as would the maintenance of more than 70 separate suits, each brought to resolve
identical legal and factual questions. By contrast, there will be minimal difficulties in maintaining
the action as a class action, including in terms of calculating damages Finally, in view of the
complexities of the issues or the expenses of liti.gation, the separate claims of individual class
members are insufficient in amount to support separate actions. lv’lany members of the Plaintiff
Class have been ttndercompensated only by a few thousand dollars, or even less. For exarnple, at
least 20 members of the Plaintiff Class were underpaid by less than 510,000. Thel cost to bring
litigation on behalf of those hospitals, and indeed on behalf of most or all of the hospitals, far
exceeds the amount by which most if not all of the individual plaintiffs have been
undercompensatedl

112. Class certification is appropriate under Fed. R. Civ. P. 23(b)(1)(A) because the
prosecution of separate actions by individual members of the Plaintiff Class would create a risk of

inconsistent or varying adjudications with respect to individual members of the class, which would

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establish incompatible standards of conduct for Defendants. Maintaining more than 70 actions
across the Commonwealth of Pennsylvania would run the risk of inconsistent rulings in those
different cases, subjecting the Defendants to liability for their actions towards some plaintiffs, and
no liability or a different amount ofliability towards other plaintiffs

113. Class certification is appropriate under Fed. R. Civ. P. 23(b)(l)(B) because the
prosecution of separate actions by individual members of the PlaintiffClass would create a risk of
adjudications with respect to individual members ofthe class which would as a practical matter be
dispositive of the interests ofother members not parties to the adjudications or substantially impair
or impede their ability to protect their interests For example, if one member of the Plaintiff Class
were to sue the Defendants and receive a monetary award that was inappropriately hi gh, that would
impair the other underpaid hospitals` ability to receive compensation for the full amount of their
damages Consideration ofthis case as a class action thus ensures a consistent scheme of recovery
for all Plaintiffs and members of the Plaintiff Class.

l l4. Class certification is appropriate under Fed. R. Civ. P. 23(b)(2) because Defendants
have acted or refused to act on grounds that apply generally to the class, so that final injunctive
relief or corresponding declaratory relief is appropriate respecting the class as a whole.
Defendants’ submission of massive amounts of invalid, inaccurate, and inflated claims under the
EE Program_. and their refusal to repay their ill~gotten funds to Plaintiffs and the Plaintiff C`.lass,
are actions or refusals to act that have been equally taken towards all members of the Plainti ff
Class. Aecordingly, final equitable and declaratory relief is appropriate with respect to the entire

Plaintiff Class.

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COUNTS
COUNT ONE _ VIOLATION OF 18 U.S.C. 5 1962(51
Against John ]]oe 1 and John I)oe 2

115. Plaintiffs incorporate by reference the allegations in paragraphs 1_1 14.

116. RlC-O creates a creates a private right of action for “[a]ny person injured in his
business or property by reason ofa violation of [18 U.S.C. § 1962].“ 18 U.S.C. § 1964(c). Under
18 U.S.C. § l962(c), it is “unlawful for any person employed by or associated with any enterprise
engaged in, or the activities of which affect, interstate or foreign commerce. to conduct or
participate, directly or indirectly, in the conduct of such enterprise’s affairs through a pattern of
racketeering activity." John Doe l and John Doe 2 violated this provision of 18 U.S.C. § 1962.

l l7. An “enterprise” for purposes of RiCO “includes any . . . partnership, corporation,
association, or other legal entity.” 18 U.S.C. § 1961(4). Lancaster General l-lospital is a legal entity
and therefore qualities as an enterprise

118. John Doe l and John Doe 2 both exercised discretion on behalf of Lancaster
General l-lospital by developing and submitting 1313 Program reimbursement requests They
therefore have a role in directing Lancaster General I-lcspital’s affairs

119. Through the numerous acts of wire fraud detailed above, John Doe 1 and John Doe
2 conducted or participated in the conduct of the affairs of Lancaster General Hospital through a
pattern of racketeering activity.

120. Funding, goods, and services procured by Lancaster C.ieneral l-Iospital have moved
in interstate commerce, and Lancaster General Hospital treats patients from other states Lancaster

General l-lospital’s activities therefore affect interstate commerce.

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l2l. The racketeering activities of .lohn Doe l and John Doe 2 directly and proximately
injured the business and property of Plaintiffs and the Plaintiff Class. As an immediate and direct
result of those racketeering activities_. Plaintiffs and the Plaintiff Class received less than the
amounts to which they were entitled under the 1313 Program during Fiscal Years 2010, 201 l, and
2012.

COUNT TWO _ VI()LATION OF 18 U.S.C. ii l962(dl
Against John I}oe 1 and John I)oe 2

122. Plaintiffs incorporate by reference the allegations in paragraphs l-l2l.

123. RICO creates a private right of action for “|:a]ny person injured in his business or
property by reason ofa violation of [18 U.S.C. § 1962]." 18 U.S.C. § l964(c). Under 18 U..S.C.
§ 1962(d), it is “unlawful for' any person to conspire to violate any of the provisions of subsection
(a), (b), or (c) of this section.“

124. An “enterprise” for purposes of RICC| “includes any . . . partnership, corporation,
association, or other legal entity." 18 U.S.C. § 1961(4), Lancaster General Hospital is a legal entity
and therefore qualifies as an enterprise.

125. li`unding, goods, and services procured by Lancaster General l-lospilal have moved
in interstate commerce, and Lancaster General l-lospital treats patients from other states. Lancaster
Gener'al l-lospital’s activities therefore affect and affected interstate commercel

126. .lohn Doe 1 and John Doe 2 are each associated with Lancaster General l"lospital
and agreed and conspired to engage in the pattern of wire fraud detailed above_a pattern of wire
fraud that violated 18 U.S.C. § 1962(c). This conspiracy violated 18 l_l.S.C. § 1962(d)r

127. Through this agreed-upon pattern of racketeering activity, Plaintiffs and the

Plaintiff Class were directly and proximately injtu'cd in their business and property. As an

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immediate result of these racketeering activities Plaintiffs and the Plaintiff Class received less
than the amounts to which they were entitled under the 1313 Program dtu‘ing Fiscal Years 2010,
2011, and 2012.

CDUNT THREE -- UNJUST ENRICHMENT

Against Lancaster Gencral Hospital, Lancaster Gcneral Health, the University of
I’cnnsylvania Health Systcm, and the Trustecs of thc University of Pennsylvan.ia

128. Plaintiffs incorporate by reference the allegations in paragraphs 1-127.

129. Defendants Lancaster General Hospital, Lancaster General l-lealth, the University
of Pennsylvania Health System, and the Trustees of the University of Pennsylvania have been
eru'iched and have received a benefit as a consequence of their submission of incorrect and
overstated extraordinary expense requests and as a consequence of their receipt, retention, and
failure to pay back the amounts by which they have been overpaid

130. Plaintiffs, the Plaintiff Class, the Department_. and Pennsylvania conferred a benefit
upon Defendants.

131. Defendants appreciated those benefits and accepted and retained those benefits
under circumstances that would render it inequitable for Defendants to retain the benefits without
payment to Plaintiffs and the Plaintiff Class.

132 Plaintiffs and the Plaintiff Class were denied a benefit as a consequence of
Defendants" actions

133. An injustice will result if Plaintiff`s’ and the Plaintiff Class’s recovery ti‘om the
enrichment is denied. Defendants have no legal or equitable entitlement to the money by which
they have been overpaid1 and in fact Plaintiffs and the Plaintiff Class have a legal and equitable
entitlement to that money. Del`endants were never and are not now entitled in equity or good

conscience to be paid the millions of dollars by which they have been overpaid.

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